
PER CURIAM.
This is an appeal from a judgment and sentence pursuant to appellant’s plea of guilty. The Public Defender has filed an *296Anders1 motion and brief requesting leave to withdraw as counsel for appellant and representing to this court that no reversible error appears. On August 14, 1980, this court gave appellant thirty (30) days within which to file a brief in his own behalf. No such brief has been filed. The court has reviewed counsel’s brief and the record herein and no reversible error appears. Any question of the voluntariness of a plea should be presented to the lower court by a rule 3.850 motion. The motion of the Public Defender to withdraw is granted and the appeal is hereby DISMISSED.
FRANK D. UPCHURCH, Jr., SHARP and COWART, JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

